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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

MICHAEL GURGONE,

                  Plaintiff,
                                                       No. 2016-cv-10549
       v.

CROWN CASTLE USA INC.,

                  Defendant.

              DISCLOSURE STATEMENT OF CROWN CASTLE USA INC.

       Pursuant to Fed. R. Civ. P. 7.1 and Local Rule 3.2, Crown Castle USA Inc. (“Crown

Castle USA”) states that it is a corporation organized and existing under the laws of the State of

Pennsylvania with its principal place of business in Canonsburg, Pennsylvania. Crown Castle

USA further states that its parent corporation is Crown Castle Operating Company (“Crown

Castle Operating”) and that Crown Castle Operating is a Delaware Corporation. Finally, Crown

Castle USA states that no entity, aside from Crown Castle Operating, owns more than 5% of

Crown Castle USA. Crown Castle USA is an indirect subsidiary of the publicly traded company

Crown Castle International Corp.
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Dated: November 14, 2016

                                         /s/ Carrie A. Hall
                                         One of the Attorneys for Defendant
                                         CROWN CASTLE USA INC.

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                              CERTIFICATE OF SERVICE

       THE UNDERSIGNED, an attorney, hereby certifies that a copy of the attached
Disclosure Statement of Crown Castle USA, Inc. was served upon the following counsel via U.S.
mail on the 14th day of November, 2016.

       Jeffrey Archambeault
       Kavanaugh Grumley & Gorbold LLC
       111 North Ottawa Street
       Joliet, IL 60432




                                          /s/ Carrie A. Hall




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